Case 1:20-cv-00337-GBW Document 34 Filed 02/01/22 Page 1 of 2 PagelD #: 213

IN THE UNITED STATES DISTRICT COURT
FOR THEDISTRICT OF DELAWARE

EARLANDO SAMUEL, pro se,
plaintiff,

Civil Action No.: 20 — 337 - CFC
V..

NEW CASTLE COUNTY
HOUSING AUTHORITY, et al :
Defendant(s) :

NOTICE OF WITHDRAWAL OF PLAINTIFF EARLANDO SAMUEL’S
PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED
COMPLAINT

On May 27", 2021, Plaintiff Earlando Samuel, pro se filed his Plaintiffs?
Motion For Leave To File First Amended Complaint. Samuel now files this

Notice to inform the Court that he is withdrawing his previously filed:

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Plaintiffs’ Motion For Leave To File First Amended Complaint. cn My

Respectfully Submitted,

Earlando Samuel, pro se
207 Parker Place

Glen Mills, PA., 19342
610 241 7537
easee2@gmail.com

Dated: February 1st, 2022
Case 1:20-cv-00337-GBW Document 34 Filed 02/01/22 Page 2 of 2 PagelD #: 214

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

EARLANDO SAMUEL,

Plaintiff,

CIVIL ACTION NO. 20-337-CFC

Vv.
NEW CASTLE COUNTY
HOUSING AUTHORITY,
at al,

Defendants

CERTIFICATE OF SERVICE

I certify that, on the date set forth below, the foregoing Notice Of Withdrawal Of Plaintif
Earlando Samuel’s Plaintiffs’ Motion For Leave To File First Amended Complaint
was on the date set forth below was served on Defendant Fairville Management Company, LLC
attorney Krista M. Reale of Margolis Edelstein, 300 Delaware Avenue, Suite 800,

Wilmington, DE 19806 and defendants Naomi Scott and Greenlawn Group, LLC, William R
Adams, Attorney, of Dickieby, McCamey & Chilcote at 222 Delaware Avenue, Suite 1040,
Willmington, DE 19801 and Mary A Jacobsen, Attorney for The New Castle County Housing
Authority, et al, New Castle County Government center, 87 Reads Way, New Castle, DE 19720

by First Class Mail

Dated: February Ist, 2022.

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